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UNITED STATES DISTRICT COURT c:
FOR THE DISTRICT OF SOUTH CAROLINA a
CHARLESTON DIVISION eS

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Jay Connor, oe
Plaintiff, C/A No: 2:25-cv-371-JD-MGB_, ©
Vs, a Le
PLAINTIFF’S MOTION FOR EXTENION

Brookstone Funding Inc. and Kevin Pacheco OF TIME TO SERVE DEFENDANTS
Individually

Defendants.

PLAINTIFE’S MOTION FOR EXTENSION OF TIME TO SERVE DEFENDANTS

Plaintiff, Jay Connor pro se, hereby respectfully moves this Honorable Court for an
additional sixty (60) days to serve the Defendants pursuant to FRCP 6(b)(1)(A). On January 21,
2025, Plaintiff filed the Complaint. On February 19, 2025 the Court issued Summons for
Brookestone Funding, Inc. and Kevin Pacehco individually with service due by May 20, 2025,

Plaintiff has had difficulty identifying a valid address for service on the Defendants.
Upon information and belief, the registered agent information listed for Brookestone Funding
with the New York Secretary of State is no longer valid, and Brookestone is no longer located at
the physical address listed on its website. Plaintiff has also not identified a valid address for

Kevin Pacheco,

Dated: May 20, 2025

SIGNATURE ON FOLLOWING PAGE
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